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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                           No. 1:20-mj-416-SJB

v.

ADAM FOX, BARRY CROFT,
TY GARBIN, KALEB FRANKS,
DANIEL HARRIS AND
BRANDON CASERTA,

      Defendants.                                   PENALTY SHEET
__________________________________/

CHARGE: Conspiracy to Commit Kidnapping [18 U.S.C. § 1201(c)]

Imprisonment:       Any term of years, up to life   [18 U.S.C. § 1201]
Fine:               Not more than $250,000          [18 U.S.C. § 3571(b)(3)]
Supervised Release: Not more than 5 years           [18 U.S.C. § 3583(b)(1)]
                    Class A felony                  [18 U.S.C. § 3559(a)(1)]



Date: 10/6/2020                                      /s/ Nils R. Kessler
                                                    Counsel for the United States

Submitted in accordance with Admin. Order 17-MS-046
